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                                          2202
                                                                          CLERK'SOFFICE U.S.DIST.COUR-t
                                                                                 AT ROANOKE,VA
                                                                                     (ILED
                     IN TIIE UNITED STATES DISTRICT COURT                       ALC 25 2916
                    FO R TIIE W E STER N DISTR IC T O F W R G IN IA
                                R O A N O K E D IW SION                     sy
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UM TED STATES OF AM ERICA,                      CASE NO .7:14CR00027
                                                (CASE NO.7:16CV81162)
V.                                             M EM O R AND U M O PIN IO N


SH A N NO N M AR IE W H ITE,                    By: H on.G len E.C onrad
                                                ChiefU nited States D istrictJudge
                    D efendant.

       Shannon M arieW hite,a federalinm ateproceeding pro K ,filedthism otion to vacate,set

asideorcorrectthe sentence,ptlrsuantto 28 U.S.C.j2255. Upon review ofthemotion and
courtrecords,however,thecourtconcludesthatthe j2255 motion mustbe dismissed without
prejudice,construedasamotionforreduction ofsentenceunder18U.S.C.j3582,anddenied.
      W hite pleaded guilty in this courtto one cotmtof conspidng to possess with intentto

distribute and to distribute m ethnmphetnmine. For this offense,on April27,2015,the court

sentencedherto 48m onthsin prison.W hite did notappeal.

      W hitehasnow fledaj2255motion,requestingareductioninhersentencebmsedon her
m inor role in the conspiracy. Speciscally,she argues that she is entitled to a minor role

reduction based on new guidelines declr ed in Am endm ent 794 to the advisory federal

sentencing guidelinesm anual.

       Amendment794amended j381.2oftheUnited SGtesSentencing Guidelines(GCUSSG'')
and took effecton November 1,2015. SeejJ.sat521. Thisnmendmentissued afterW hite's
conviction becnmefmalin M ay 2015,when she failed to appealthejudgment. In general,the
courtisreqllired tousetheguidelinesm anualin effecton the datea defendantissentenced. See

Dorsev .
       v. United States,   -
                               U .S. , 132 S.
                                  -         Ct. 2321, 2332 (2012); U.S.S.G. j 1B1.11(a)
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(requiring useofG'theGuidelinesM anualin effectonthedatethatthedefendantissentenced').
TheUnited StatesSentencing Comm ission did notm akeAmendment794 retroactiveto al1cases.

SeeUSSG.j1B1.10(d)(2015)(listingrekoactiveguidelineamendments).
       Although W hiteassertshermotion tmderj2255,she isnotentitled to relieftmdertllis
stam te. She isnotarguing thathersentence wasillegalwhen imposed,thatitwas imposed in

violationofUnhedStateslaw,orthatanyotherdefectscognizableunderj22554a)arepresentin
hercase. See,e.c.,Hamilton v.United States,67 F.3d 761,763 (9th Cir.1995)(holding that
j2255 clnim can bebased only on aclaim oflack ofjmisdiction,constitutionalerror,an error
resulting in 1&a complete miscae age of justice,'' or iGa proceeding hconsistent with the
nzdimentary demands offairprocedure'')(quoting United States v.Timmreck,441 U.S.780,
783-84 (1979)). Instead,W hite isarguing to receivetherekoactivebenefitofan amendment
thatissued after she w as sentenced. Thistype ofclaim mustbe broughtas a m otion under 18

U.S.C.j3582,notas a j 2255 motion. Therefore,the courtwillsllmmarily dismissW hite's
j2255motionwithoutprejudice.
       Because W hite is proceeding without counsel, the court liberally construes her

submission asamotion seekingreductionunder18U.S.C.j3582/).A districtcourtgenerally
m ay notm odify a term ofim prisonmentonce ithmsbeen imposed llnlessa defendantiseligible

forareduction underj 3582(c).United Statesv.Goodwvn,596F.3d 233,235(4th Cir.2010).
Section 3582(c)(2)allowsforareductionifthedefendant'ssentencewasidbasedonasentencing
rangethathassubsequently been lowered by the Sentencing Com mission,''and Ctsuch reduction

is consistentwith the applicablepolicy statem ents issued by the Sentencing Comm ission.'' 18

U.S.C.j3582(c)(2).
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       The (dapplicable policy statements''referenced in j 3582/)(2)are those found in j IB
1.10oftheSentencing Guidelines.Dillonv.UnitedStates,560U.S.817,826(2010).Ptlrsuant
tothatprovision,asentencereductiontmderj3582(c)(2)isauthorized onlywhen arekoactively
applicable Guidelines nmendm ent has Eûthe eflkct of lowering the defendant's applicable

guidelinerange.''U.S.S.G.jIB 1.10(a)(2)(B). Section 1B1.10listsal1Guidelinesnmendments
that the Sentencing Com mission has m ade retroactively applicable to defendants on collateral

review,ratherthan directappeal,and Amendment794 isnotlisted in j1B1.10 asretroactively
applicable. Because Am endm ent794 isthus notretroactively applicable,W hite'srequestfora

reduction tmder j3582/)42)ptlrsuantto tllis nmendmenthas no legalvalidity and mustbe
dei ed.A separateorderwillbe enteredthisday.

       The Clerk is directed to send copies of tltis mem orandum opinion and accom panying

orderto defendant.
       ENTER
               :This XbNdayofAugust,2016.

                                                  Chief   'ted SGtesDistrictJudge




                                              3
